Case 1:23-cv-03721-SCJ Document 1-62 Filed 08/21/23 Page 1 of 3




                 EXHIBIT B-052
     Case 1:23-cv-03721-SCJ Document 1-62 Filed 08/21/23 Page 2 of 3
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               IN THE SUPERIOR COURT OF FULTON COUN
                              STATE OF GEORGIA
In Re '2 May 2022 Special
Purpose Grand Jury

V.                                       I    CASE NO. 2022-EX-000024




     REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
                RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned hereby requests permission to use a recording device in
Courtroom 8_D_ in order to Erecord images and/ or Esound during all or
portions of the proceedings in the above captioned case / calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): Ecomputer of any size, including a
tablet, a notebook, and a laptop; Esmart phone, a cell phone or other wireless
phone;   E  camera and other audio or video recording devices     Eany similar
devices small audio recorders, still cameras.

The proceedings that the undersigned desires to record commence on (date and
time)12:30 km. Tuesday, Aug. 9, 2022. Subject to direction from the court
regarding possible pooled coverage, the undersigned wishes to use this device
in the courtroom on (date and time)12:30 p.m. Tuesday, Aug. 9, 2022.

The personnel who will be responsible for the use of this recording device are:
(identify appropriate personnel or individualfl‘amar Hallerman Bill Rankin and AJC
photographer.

The undersigned hereby certiﬁes that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any


For questions or concerns email 2m ltoncounygagov                               1
Rule 22 (Rev. 04/01/18)
     Case 1:23-cv-03721-SCJ Document 1-62 Filed 08/21/23 Page 3 of 3




guidelines issued by the court.

The Atlanta Journal-Constitution
[News Agency] Media Outlet] Law Firm] Individual Representative]

tamar.hallermamjc.com
[Email Address]

540-257-1446
[Phone Number)

ORDER APPROVING] DISAPPROVING REQUEST:
              The request is:
                     EApproved
                     DDisapproved
              The requesting agency:
                     DShall be pool for its media
                     .Shall not be pool for its media
Under no circumstances is this rule to be construed as permission for ﬁlming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

SO ORDERED this 8th day of August 2022.



                             Mar/1%»)
                    Judge of Svuyerior-Court of Fulton Coufrty
                             Atlanta Judicial Circuit




For questions or concerns email io   ltoncoun   a. ov                         2
Rule 22 (Rev. 04/01/18)
